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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

UNITED STATES OF AMERICA,                        )
          Respondent/Plaintiff,                  )
vs.                                              )           No. 3:97-CR-0257-G(01)
                                                 )           No. 3:04-CV-2505-G
ABEL ESPINOZA, ID # 30899-077,                   )
          Movant/Defendant.                      )

                FINDINGS, CONCLUSIONS, AND RECOMMENDATION
                   OF THE UNITED STATES MAGISTRATE JUDGE

       Pursuant to the provisions of 28 U.S.C. § 636(b), and an Order of the Court in implementa-

tion thereof, subject cause has previously been referred to the United States Magistrate Judge. The

findings, conclusions, and recommendation of the Magistrate Judge are as follows:

                                      I. BACKGROUND

A. Nature of the Case

       Movant, an inmate currently incarcerated in the federal prison system, filed this Motion to

Vacate, Set Aside, or Correct Sentence pursuant to 28 U.S.C. § 2255. The respondent is the United

States of America.

B. Procedural History

       On July 31, 1998, a jury found movant guilty of conspiracy to distribute a controlled sub-

stance (Count 1) and use of a communication facility to facilitate distribution of a controlled sub-

stance (Counts 11 and 14). On October 14, 1998, the Court entered judgment upon the jury ver-

dict and sentenced movant to 235 months imprisonment on Count 1 and to 48 months imprison-

ment on each of the other counts. In June 2001, the Fifth Circuit Court of Appeals affirmed

movant’s convictions. In January 2002, the Supreme Court denied his petition for writ of certiorari.
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        On November 19, 2004, the Court received the instant motion to vacate. Movant asserts

that, under Blakely v. Washington, 542 U.S. 296 (2004), the Court improperly sentenced him by uti-

lizing factors not submitted to the jury for determination. He further asserts that the Court violated

his right to confront witnesses at sentencing by receiving all sentencing testimony via affidavit. He

also asserts that insufficient evidence supports his conviction.

                               II. STATUTE OF LIMITATIONS

        Paragraph 6 of “28 U.S.C. § 2255 establishes a ‘1-year period of limitation’ within which a

federal prisoner may file a motion to vacate, set aside, or correct his sentence under that section.”

Dodd v. United States, 125 S. Ct. 2478, 2480 (2005). That paragraph provides:

        A 1-year period of limitation shall apply to a motion under this section. The
        limitation period shall run from the latest of –

                (1) the date on which the judgment of conviction becomes final;

                (2) the date on which the impediment to making a motion created by
        governmental action in violation of the Constitution or laws of the United States is
        removed, if the movant was prevented from making a motion by such governmental
        action;

               (3) the date on which the right asserted was initially recognized by the
        Supreme Court, if that right has been newly recognized by the Supreme Court and
        made retroactively applicable to cases on collateral review; or

               (4) the date on which the facts supporting the claim or claims presented
        could have been discovered through the exercise of due diligence.

Although “[i]n most cases, the operative date from which the limitation period is measured will be

the one identified in ¶ 6(1) . . . later filings are permitted where subparagraphs (2)-(4) apply.” Dodd,

125 S. Ct. at 2481.




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         Because movant’s motion is predicated on the Supreme Court’s holding in Blakely, the Court

construes movant’s claim as inviting consideration under ¶ 6(3). However, the requirements of ¶

6(3) have not been satisfied so as to commence the limitations period from the date the Supreme

Court decided Blakely. The commencement date provided for in ¶ 6(3) “does not apply at all if the

conditions in the second clause – the right ‘has been newly recognized by the Supreme Court and

made retroactively applicable to cases on collateral review’ – have not been satisfied.” Id. at 2482.

In this instance, neither the Supreme Court nor the Fifth Circuit has made Blakely retroactively

applicable to cases on collateral review. See United States v. Garcia, Nos. 3:03-CR-0268-L(01), 3:05-

CV-0493-L, 2005 WL 1489926, at *2 (N.D. Tex. June 22, 2005). In the absence of a pronounce-

ment by the Supreme Court or the Fifth Circuit that Blakely applies retroactively to cases on collat-

eral review, ¶ 6(3) does not apply to delay the commencement of the limitations period in this case.

It is therefore premature to rely on ¶ 6(3) to calculate the limitations period from the date the

Supreme Court decided Blakely.1

         With respect to the other subsections of ¶ 6, movant has alleged no government-created

impediment under ¶ 6(2) that prevented him from filing his federal petition. Thus, for purposes of

this action, the statute of limitations runs from the date movant’s conviction became final pursuant

to ¶ 6(1), or from the date on which he knew or should have known with the exercise of due

diligence the facts supporting his claims pursuant to ¶ 6(4).

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  The Court recognizes that the Supreme Court held in Dodd that when ¶ 6(3) applies, the limitations period commences
on the date the Supreme Court recognized the new right, not the date the right was made retroactively applicable. 125 S.
Ct. at 2483 (emphasis added). Although this presents a potentially harsh result when the right is made retroactively
applicable more than a year after the Supreme Court first recognizes the new right, the Supreme Court recognized such
potential harshness and indicated that it is “not free to rewrite the statute that Congress has enacted.” Id. It stated:
“The disposition required by the text here, though strict, is not absurd. It is for Congress, not this Court, to amend the
statute if it believes that the interplay of ¶¶ 8(2) and 6(3) of § 2255 unduly restricts federal prisoners’ ability to file second
or successive motions.” Id.

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        With regard to ¶ 6(1), movant’s conviction became final in January 2002 when the United

States Supreme Court denied his petition for writ of certiorari. See Clay v. United States, 537 U.S.

522, 527 (2003) (holding that “[f]inality attaches when this Court affirms a conviction on the merits

on direct review or denies a petition for a writ of certiorari, or when the time for filing a certiorari

petition expires”).

        With regard to ¶ 6(4), the Court determines that the facts supporting the claims raised in

the instant motion became known or could have become known through the exercise of due

diligence prior to the date movant’s conviction became final in January 2002. Although Blakely was

not decided until June 2004, movant would have known the facts to support his claimed sentencing

errors when the Court sentenced him in October 1998. He also would have known the facts to

support his insufficiency-of-the-evidence claim at the time of trial in July 1998.

        Because ¶¶ 6(2) and (3) are inapplicable and ¶ 6(4) provides an earlier commencement date

than ¶ 6(1), the period of limitations commenced in January 2002, when movant’s conviction

became final. However, he did not file the instant motion to vacate until November 2004 – almost

three years later. Thus, under ¶ 6(1), the instant motion to vacate is untimely in the absence of

equitable tolling.

        While the Fifth Circuit Court of Appeals has held that “the statute of limitations in § 2255

may be equitably tolled in ‘rare and exceptional circumstances,’” United States v. Patterson, 211 F.3d

927, 930 (5th Cir. 2000), movant has provided no basis for equitably tolling the statutory period of

limitations. Consequently, the Court should deny the motion as untimely.




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                                   III. RECOMMENDATION

       For the foregoing reasons, the undersigned Magistrate Judge RECOMMENDS that the

Court DENY the Motion to Vacate, Set Aside, or Correct Sentence brought pursuant to 28 U.S.C.

§ 2255 as barred by the statute of limitations.

       SIGNED this 2nd day of September, 2005.



                                                        ___________________________________
                                                        IRMA CARRILLO RAMIREZ
                                                        UNITED STATES MAGISTRATE JUDGE



                           INSTRUCTIONS FOR SERVICE AND
                          NOTICE OF RIGHT TO APPEAL/OBJECT

         The United States District Clerk shall serve a copy of these findings, conclusions, and recom-
mendation on all parties by mailing a copy to each of them. Pursuant to 28 U.S.C. § 636(b)(1), any
party who desires to object to these findings, conclusions and recommendation must file and serve
written objections within ten days after being served with a copy. A party filing objections must spe-
cifically identify those findings, conclusions, or recommendation to which objections are being made.
The District Court need not consider frivolous, conclusory or general objections. Failure to file
written objections to the proposed findings, conclusions, and recommendation within ten days after
being served with a copy shall bar the aggrieved party from appealing the factual findings and legal
conclusions of the Magistrate Judge that are accepted by the District Court, except upon grounds
of plain error. Douglass v. United Servs. Auto Ass’n, 79 F.3d 1415, 1428-29 (5th Cir. 1996) (en banc).



                                                        ___________________________________
                                                        IRMA CARRILLO RAMIREZ
                                                        UNITED STATES MAGISTRATE JUDGE




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